

People v Chaopeng Chen (2024 NY Slip Op 50269(U))



[*1]


People v Chaopeng Chen


2024 NY Slip Op 50269(U)


Decided on March 15, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 15, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570302/18

The People of the State of New York, Respondent,
againstChaopeng Chen, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Laurie Peterson, J.), rendered April 24, 2018, convicting him, upon his plea of guilty, of criminal possession of a controlled substance in the seventh degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Laurie Peterson, J.), rendered April 24, 2018, affirmed.
By pleading guilty, defendant forfeited his claim that the court did not properly convert the felony complaint into a misdemeanor complaint pursuant to CPL 180.50(3)(a)(iii) (see People v Hunter, 5 NY3d 750, 751 [2005]; People v Pereira, 78 Misc 3d 130[A], 2023 NY Slip Op 50319[U] [App Term, 1st Dept 2023], lv denied 40 NY3d 930 [2023]).
In any event, even if the claim had merit, we would vacate the plea and remit the matter for further proceedings on the felony complaint. Defendant, however, does not seek that relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: March 15, 2024









